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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
LARRY KLAYMAN,
a Natural Person
c/o 7050 W. Palmetto Park Rd, #15-287
Boca Raton, FL, 33433
                                             Case No: _______________
                  Plaintiff,

              v.

BARACK HUSSEIN OBAMA,
A Natural Person
Washington, D.C.

                     Defendant


                                               COMPLAINT

I.    ! INTRODUCTION AND NATURE OF THE ACTION

        1.!        This is a civil action for damages against Defendant Barack Obama (“Defendant

Obama”) for Assault and Intentional Infliction of Emotional Distress based on Defendant

Obama’s and his surrogates, agents and co-conspirators overt actions to incite violence and/or

serious bodily harm stemming from President Donald Trump’s January 27, 2017 Executive

Order titled Protecting the Nation From Foreign Terrorist Entry into the United States (the

“Executive Order”). 1 The actions and/or omissions giving rise to Plaintiff Larry Klayman’s

causes of action occurred within this judicial district, as set forth below, and were made by

Defendant Obama as a private citizen. He thus has no possible claim of immunity from suit.

II.    ! STANDING AND THE INDIVIDUAL PLAINTIFF PARTIES

        2.!        Plaintiff Larry Klayman (“Plaintiff”) is a citizen of Florida. Plaintiff is a

prominent public-interest attorney and advocate who has been vocal about his pro-Israel and

1
 Donald J. Trump, Protecting the Nation From Foreign Terrorist Entry into the United States, The White House,
Jan. 27, 2017, available at: https://www.whitehouse.gov/the-press-office/2017/01/27/executive-order-protecting-
nation-foreign-terrorist-entry-united-states
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Zionist beliefs, has brought several high profile and widely publicized lawsuits against Muslim

terrorists and terrorist interests and nations, including but not limited to (1) the Islamic Republic

of Iran, (2) the “so-called” Ground Zero mosque in New York City, (3) the Islamic Society of

North America, and (4) the Council for American-Islamic Relations (“CAIR”), who had been

named as an indicted co-conspirator to terrorism in a federal criminal case concerning the Holy

Land Foundation in the Northern District of Texas. Plaintiff has publically criticized Defendant

Obama’s pro-Muslim, pro-radical Black leftist views and policies. Plaintiff has also brought suit

against domestic as well as international terrorist groups 2 and Black Lives Matter, Louis

Farrakhan and his Nation of Islam, Al Sharpton, and other radical Black leftist organizations,

who have advocated and systematically practiced anti-Semitic and anti-Christian bigotry, and

who have also advocated severely harming or killing law enforcement, and in fact have done

so.3 As such, Plaintiff falls squarely within the zone of persons to be threatened with death and/or

serious bodily harm as a result of his vocal and public criticism of, and legal action against,

Defendant Obama’s pro-Muslim and pro-radical Black leftist views, policies and actions, as

well as radical and hostile Muslims and their organizations such as the Council for American

Islamic Relations (CAIR). Plaintiff, as a public figure and a in effect a law-enforcement officer

as the founder of Judicial Watch and Freedom Watch and a former U.S. Department of Justice

prosecutor, indeed fears for his life and safety as a result. Indeed, he was previously threatened

by radical Islamic Imams and others, such as terrorist connected Imam Rauf, previously of the

Ground Zero Mosque who issued what in effect is a Fatwa against him.

           3.!      Defendant Obama is a citizen of the state of Illinois and, currently, a private

citizen and resident in the District of Columbia.


2
    See Strange v. Islamic Republic Of Iran, 1:14-cv-435 (D.C. Dist.)
3
    See Pennie v. Farrakhan, 3:16-cv-2010 (N.D. Tx.)


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III.   !JURISDICTION AND VENUE

        4.!      This Court has subject matter jurisdiction over this action based on diversity of

citizenship pursuant to 28 U.S.C. § 1332(a)(2), because there is complete diversity of citizenship

between the Plaintiff and the Defendants.

              5.! Defendant Obama is a citizen of Illinois.

        6.!      The matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

        7.!      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2), as the cause

of action primarily arose in this district.

IV.    !FACTS COMMON TO ALL COUNTS

        8.!      Defendant Obama has engaged in a pattern and practice of “cleverly” inciting

deadly violence and/or seriously bodily harm and injury through his actions, in concert with his

surrogates, agents, and co-conspirators as set forth herein, with the intent to destabilize American

society and reconstruct it according to their agendas.

        9.!       Defendant Obama—working in concert with Black Lives Matter, Louis

Farrakhan, Al Sharpton, George Soros, and others—has “cleverly” incited death and/or serious

bodily harm against law enforcement officers, Caucasians, and Jews in support of the radical

Black leftist, separatist, and black supremacy movements.

        10.!     For instance, Al Sharpton, a degenerate and hate filled radical Black agitator,

ironically not unlike his professed nemesis the bigoted Klu Klux Klan, who extorts money

through race bating and hatred of law enforcement, whites and others, was invited by Defendant




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and has visited with Defendant Obama seventy-three (73) times in the White House as of

February 27, 2015. 4 Incredibly, his visit in February 2015 was announced as:

                 The main topic discussed at the summit, according to the White
                 house, was the presidential task force formed in response to violent
                 clashes with police in Ferguson, Missouri, and New York sparked
                 by the killings of Michael Brown and Eric Garner. ‘The president
                 highlighted the upcoming release of the report by the Task Force
                 on 21st Century Policing, and emphasized the work of the Task
                 Force leading to the report’s creation,’ said the news release.

        11.!     In one of Al Sharpton’s rallies that occurred on December 15, 2014 in New York

City, marchers were chanting death threats to the police: “What do we want? Dead cops!

When do we want it! Now!”5 The protesters event assaulted two NYPD officers and blocked

traffic on the Brooklyn Bridge.6

        12.!     In the video embedded below, Al Sharpton explicitly tells his followers to murder

Caucasian law enforcement officers, saying, “I believe in offing the pigs. Well they got pigs out

here. You ain’t offed one of them. What I believe in, I do.” Defendants Sharpton goes on to rant,

“I’ll off the man. Well off them. Plenty of crackers walking right around here tonight.”7 He even

urges his radical followers to commit acts of deadly violence against law enforcement, saying,

“well fight then! Ain’t nobody holding you!”




4
  Snejana Farberov, Home is where the POTUS is: Al Sharpton returns to White House 'for his 73RD visit' with
Obama to discuss problems facing minorities, The Daily Mail, Feb. 27, 2015, available at:
http://www.dailymail.co.uk/news/article-2973067/Al-Sharpton-returns-White-House-73RD-visit-Obama-discuss-
problems-facing-minorities.html#ixzz3mOt6XqXN
5
  Obama, Holder, Sharpton Stoke Flames, Ferguson Officers Shot, Breitbart, March 12, 2015,
6
  Warner Todd Huston, Al Sharpton Leads March in DC as NYC Protesters Chant: ‘What Do We Want? Dead
Cops!’, Breitbart, Dec. 13, 2014, available at: http://www.breitbart.com/big-government/2014/12/13/al-sharpton-
leads-thousands-in-saturday-march-on-washington-dc/.
7
  Al Sharpton’s 1992 Off the Pigs Video, Mar. 19, 2016, available at:
https://www.youtube.com/watch?v=XpZ0RwtvZmk al s


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         13.!     Morevover, as disclosed by a former top deputy of the Louis Farrakhan of the

hate filled Black Muslim Nation of Islam, Defendant Obama’s ties to the radical Black Muslim

nationalist movement in Chicago run “deep,” and Louis Farrakhan and Defendant Obama have

had “an open line between them” to discuss policy and strategy, either directly or through

intermediaries.8

         14.!     Louis Farrakhan endorsed Defendant Obama in a videotaped speech to his

followers at his Mosque in Chicago in February. “You are the instruments that God is gonna use

to bring about universal change, and that is why Barack has captured the youth,” Farrakhan said.

He told the crowd that Obama was the new “messiah.”9

         15.!     On June 24, 2015, appearing in the course of the same “Justice or Else! Tour” at

the Metropolitan African Methodist Episcopal church in Washington DC, Louis Farrakhan gave

an impassioned hate filled speech denouncing America10 and aligning all white Americans with

the sentiments of the racist murderer in Charleston, South Carolina, Dylann Roof. 11




8
  Obama-Farrakhan Ties Are Close, Ex-Aide Says, Newsmax, Nov. 3, 2008, available at:
http://www.newsmax.com/InsideCover/farrakhan-obama-islam/2008/11/03/id/326298/
9
   Id.
10
   Gregory Tomlin, Stalk them and kill them,' Farrakhan says, calling for 10,000 volunteers to kill whites, Christian
Examiner, Aug. 5, 2015, available at
http://www.christianexaminer.com/article/farrakhan.calls.for.10000.volunteers.to.kill.whites/49329.htm.
11
   Matthew Maule, Farrakhan Exploits Charleston Tragedy, June 30, 2015,
http://www.christianpost.com/news/farrakhan-exploits-charleston-tragedy-140998/#wwOk9TDoEa6wPVSr.99.


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        16.!     In his speech, Louis Farrakhan explicitly called for murder, stating, “Retaliation is

a prescription from God to calm the breasts of those whose children have been slain. So if the

federal government will not intercede in our affairs, then we must rise up and kill those who kill

us. Stalk them and kill them and let them feel the pain of death that we are feeling.”12

        17.!     Moreover, on September 17, 2015, the Black Lives Matter leaders met in the

White House with President Obama’s primary adviser, aide, and implementer Valerie Jarrett—

who is of Iranian descent and Muslim—and other White House officials. 13 According to news

reports, participants included Black Lives Matter leaders Deray Mckesson and Johnetta Elzie.

The topic of the White House meeting with Black Lives Matter and similar groups was mutual

plans for “changing” official government policies, an guise and euphemism for threatening and

harming and killing police officers and law enforcement.

        18.!     Immediately after the Dallas Police Shooting in July, 2016, Defendant Obama

met again with Black Lives Matter at the White House. At the conclusion of the meeting,

Defendant Obama stated, “[w]e’re not at a point yet where communities of color feel confident

that their police departments are serving them with dignity and respect and equality.”14 This

statement was made to “cleverly” blame law enforcement officers for the Dallas Police Shooting,

instead of holding the true culprits—radical leftist, separatist, and supremacy Black power

groups—responsible.

        19.!     On August 29, 2015, during a Black Lives Matter protest in Minnesota, protesters

chanted in unison, “Pigs in a blanket, fry em’ like bacon.” The chant was clearly meant to

promote and cause severe bodily injury or death among innocent police officers policers of all

12
   Tomlin, supra note 7.
13
   Darren Sands, BuzzFeed, Sep. 17, 2015, available at: http://www.buzzfeed.com/darrensands/black-lives-matter-
activists-meet-with-white-house-officials#.utj953aVw.
14
   Theodore Schleifer, Allie Malloy, Black Lives Matter Activists Join Obama at Forum on Policing, CNN, July 14,
2016, available at: http://www.cnn.com/2016/07/13/politics/obama-black-lives-matter-meeting/


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races and ethnicities, who were, ironically, at the march to help protect the protestors’ free

speech.15

        20.!     On July 7, 2016, Lakeem Keon Scott (“Scott”) shot at passing cars along a

Tennessee highway, killing one woman and wounding three others, including a police officer.16

Witnesses heard Scott yelling “police suck! Black lives matter!” as he opened fire.17 Police later

on found “Black Lives Matter” materials inside of Scott’s home.18 All of Scott’s victims were

Caucasian.19

        21.!     Defendant Obama has publicly expressed his support for the violent actions of

Black Lives Matter, Louis Farrkahan and the Nation of Islam, and others who have threatened to

kill and have killed law enforcement and who oppose Black separatism and supremacy. Plaintiff

Klayman, as a former U.S. Department of Justice prosecutor, founder of both Judicial Watch and

Freedom Watch—both of which seek to enforce law and order throughout the nation and who

legally represent law enforcement officers—and as an officer of the judicial system and courts

himself, is part of the law enforcement community. Now, in an attempt to further his intent to

destabilize American society and restore his agenda—in whole or in part—under the Trump

presidency, which he vehemently opposed and continues to oppose, and then reconstruct it to his

own design, Defendant Obama, working in concert with his surrogates, agents and co-

conspirators has again “cleverly” attempted to incite violence and/or serious bodily harm with

regard to the Executive Order which has been mischaracterized as a “Muslim ban” signed by

15
   Bill Hudson, Black Lives Matter Chant Called ‘Disgusting’ By Police Leader, CBS Minnesota, Aug. 30, 2015,
available at: http://minnesota.cbslocal.com/2015/08/30/black-lives-matter-chant-called-disgusting-by-police-
leader/.
16
   Witness heard Bristol gunman yelling, ‘Police suck! Black lives matter!” as he opened fire, CNN Wire, July 8,
2016, available at: http://wtvr.com/2016/07/08/bristol-gunman-lakeem-keon-scott-yelled-olice-suck-black-lives-
matter/
17
   Id.
18
   Id.
19
   Mark Heim, Tennessee Highway Gunman Kills 1, Injures 3, Motivated by Police Shootings, Authorities Said, AL,
July 8, 2016, available at: http://www.al.com/news/index.ssf/2016/07/tennessee_highway_gunman_motiv.html


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President Donald Trump on January 27, 2017. Defendant Obama is particularly aggressive,

incensed and angry given that his endorsed presidential candidate in 2016, Hillary Clinton, who

pledged to continue his agenda against law enforcement and who strongly supported the Black

radical, separatist, and supremacy movements to win votes was defeated by now President

Donald J. Trump on November 8, 2016.

       22.!   Defendant Obama is now inciting his primarily Muslim supporters, in addition to

his Black separatist and supremacist supporters, surrogates, agents and co-conspirators to

commit and/or threaten acts of serious violence against persons, such as Plaintiff, who disagree

with them and their actions to destabilize American society and then reconstruct it to their own

design. Not coincidentally, the various radical leftist, separatist, and supremacist Black power

groups that Defendant Obama has vocally supported have also now conveniently and tactically

joined Defendant Obama’s primarily Muslim supporters in “protesting” the Executive Order by

effectively inciting acts and/or threats of serious violence and/or death. Since many of these

Obama surrogates, agents, and co-conspirators are Black Muslims, there is a natural affinity

between Muslims and radical Black separatists and supremacists who are viciously anti-Semitic,

anti-Christian, anti-white and anti-law enforcement. Louis Farrakhan of the Nation of Islam is

just one example among many.

       23.!   The Executive Order temporarily suspended entry into the United States, as

immigrates and nonimmigrants, of aliens from Iran, Iraq, Libya, Somalia, Sudan, Syria, and

Yemen to temporarily reduce the investigative burdens on relevant agencies so that they may

“immediately conduct a review to determine the information needed from any country to

adjudicate any visa, admission, or other benefit under the INA (adjudications) in order to




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determine that the individual seeking the benefit is who the individual claims to be and is not a

security or public-safety threat.”20

        24.!    Seizing on an opportunity to “cleverly” incite violence and/or serious bodily harm

in and to further his mission to destabilize American society and then reconstruct it to his own

design, Defendant Obama, acting in concert with his surrogates, agents and co-conspirators has

signaled and called for his surrogates, agents and co-conspirators and followers to “protest” and

effectively commit acts of violence, serious bodily injury, or death against persons who happen

to hold a differing viewpoint.

        25.!    Through his spokesperson, Defendant Obama “cleverly” tweeted that he was

“heartened” by the protests, and acts of serious violence, and that these “protests” are “exactly

what we expect to see when American values are at stake.” 21 He went on to tweet that the

“fundamentally disagrees” with President Donald Trump’s Executive Order. Given his past

status as President of the United States, this message was in effect a call to arms. This call to

arms has also resulted in other violence, such as the destructive mob violence, arson and property

destruction and vandalism which occurred and was witnessed just yesterday night February 1,

2017, on the campus of Berkeley University, again in California where Defendant Obama and

his surrogates, agents, and co-conspirators have many ultra leftist, radical Black and Muslim and

anarchist supporters and sympathizers. Obviously, a call to arms by and from an ex-President of

the United States carries great weight with these persons, as he is in a position of “prestige” and

persuasive power and influence. Defendant Obama thus gave a “green light” to the legally

actionable conduct set forth herein, which is continuing,



20
   Trump, supra note 1.
21
   Dan Merica, Obama ‘Fundamentally Disagrees’ With Trump’s Immigration Order, CNN, Jan. 30, 2017, available
at: http://www.cnn.com/2017/01/30/politics/obama-donald-trump-travel-ban-statement/index.html.


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         26.!     As The Telegraph states, it is unprecedented for former presidents to criticise [sic]

 (and thus take shots at) their successors – and certainly not just a week and a half after they are

 sworn in.”22

         27.!     As a result of Defendant Obama’s acting in concert with his surrogates, agents,

 and co-conspirators to incite violence, serious bodily harm, or death, disingenuously couched as

 encouragement to “protest,” surrogates, agents and co-conspirators all over the nation—

 including but not limited to those in this judicial district—are, in fact, committing and/or inciting

 death and violence—particularly at restricted security airports which are subject to terrorist

 attacks—in order to destabilize American society and the Trump presidency, who they see as an

 opponent of their violent aim to force Black separatism and supremacy and radical Muslim

 agendas over the nation. Indeed, radical Blacks and Muslims, incited by Defendant Obama, have

 now clearly joined forces yet again, stoked by a Black Muslim hostile, separatist, and

 supremacist ideology which views other races, ethnicities and religions as inferior to, hostile

 against, and opposed to their agendas.

         28.!     Recently, in Seattle, furthered by the actions of Defendant Obama, his surrogates,

 agents and co-conspirators, a Black Lives Matter activist ranted to a large crowd gathered in

 protest of the Executive Order, explicitly saying that “…we need to start killing people.”23 She

 went on to expressly threaten and incite death to President Donald Trump, saying, “First off, we

 need to start killing the White House. The White House must die. The White House, your

 fucking White House, your fucking Presidents, they must go! Fuck the White House.”24



 22
    Barney Henderson; Laura Hughes; Danny Boyle; Chris Graham, Barack Obama Hits Out at Donald Trump,
 Warning ‘American Values’ Are at Stake, The Telegraph, Jan. 31, 2017, available at:
 http://www.telegraph.co.uk/news/2017/01/30/british-dual-citizens-will-now-allowed-travel-us-boris-johnson/.
 23
    Justin Caruso, BLM Anti-Trump Protest in Seattle: ’We Need to Start Killing People’, Daily Caller, Jan. 30, 2017,
 available at: http://dailycaller.com/2017/01/30/blm-anti-trump-protest-in-seattle-we-need-to-start-killing-people/.
 24
    Id.


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         29.!     Similarly, on January 31, 2017, the U.S. Capitol Police reported that 47 people

 were arrested for illegally protesting inside of a vulnerable and secure Senate office building.

 The protestors “blocked the hallway” near Senator Orrin Hatch’s office. 25 These threatening

 “protests” were carried out in furtherance of Defendant Obama, his surrogates, agents and co-

 conspirators incitement to do violence and to undermine the presidency of Donald Trump and to

 create chaos in American society to further their agendas.

         30.!     Many of these highly threatening and potentially deadly “protests” have occurred

 in or around the nation’s airports, similar to the January 6, 2017 mass shooting at Fort

 Lauderdale International Airport, where five people were killed and six others seriously

 injured.26 The alleged gunman, Esteban Santiago, was reportedly influenced by ISIS. Santiago,

 who had converted to Islam and became a Muslim, admitted to having Islamic “terroristic

 thoughts.”27

         31.!     Plaintiff himself has been the victim of Defendant Obama’s incitement, acting in

 concert with his surrogates, agents and co-conspirators to cause violence and/or death when he

 was threatened by a “protestor” in the vulnerable off limits baggage claim area at Los Angeles

 International Airport (LAX).

         32.!     Specifically, on Sunday, January 29, 2017, while waiting for his baggage at LAX

 at approximately 8:40 P.M., Plaintiff was assaulted by a “protestor” in the baggage claim area of

 the Southwest Airlines terminal. The “protestor”, who had an Arabic accent and appeared to be

 of Islamic descent, was in effect wilfully and maliciously acting at the wilful and malicious



 25
    The Latest: Senate Panel Delays Vote on Budget Nominee, AP, Jan. 31, 2017, available at:
 https://www.yahoo.com/news/latest-senate-dem-leader-oppose-8-cabinet-nominees-181513245.html.
 26
    Merrit Kennedy, Fort Lauderdale Airport Shooting Suspect Pleads Not Guilty to 22 Counts, NPR, Jan. 30, 2017,
 available at: http://www.npr.org/sections/thetwo-way/2017/01/30/512467241/fort-lauderdale-airport-shooting-
 suspect-pleads-not-guilty-to-22-counts.
 27
    Id.


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 direction of Defendant Obama, the former President of the United States, his surrogates’, agents’

 and co-conspirators’ mission to incite serious violence and/or death against those who oppose his

 mission to destabilize American Society and reconstruct it in his own image contrary to the

 professed agenda of the new Trump administration.

        33.!    The “protestor,” a female, violently lunged and charged at Plaintiff and others

 around him while carrying a large and physically and otherwise threatening sign, as Plaintiff and

 others in his vicinity were waiting for their baggage, while uncontrollably yelling and screaming

 over and over again in an extremely hostile and hugely frightening manner, at a high decibel

 pitch, “You are racists!”

        34.!    Plaintiff suffered great fear of imminent and severe bodily harm or death, given

 the recent Muslim ISIS inspired attack at Ft. Lauderdale International Airport baggage claim, as

 Plaintiff believed at that moment that he was amidst and targeted by another terrorist attack,

 similar to the Fort Lauderdale shootings on January 6, 2017.

        35.!    Plaintiff is a prominent public interest lawyer and a public figure, who is within

 the zone of persons to be threatened by Defendant Obama, his surrogates, agents and co-

 conspirators and his followers who respond to and obey Defendant Obama’s and his surrogates,

 agents, and co-conspirators’ incitement to violence against those who differ from pro-radical

 Black and Muslim agendas. It is no coincidence that Defendant Obama is in part of Black and

 Muslim heritage, while misleadingly claiming in order to be elected as president to be a died in

 the wool Christian. Indeed, Plaintiff Klayman has tongue in cheek parodied Obama’s claim of

 being a Christian, asking in a widely publicized speech at the World War II Memorial in

 Washington, D.C., that he get up off his knees, put the Quran down and figuratively come out (of

 the White House) with his hands up, given his latent anti-Semitic and anti-Israeli policies and




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 refusal to call Islamic terrorism other than “workplace violence” and other deceptive subterfuges,

 among a myriad of other indicia that at heart Defendant Obama sees himself as primarily

 Muslim. Plaintiff Klayman is considered to be an ideological foe of Defendant Obama and his

 discriminatory radical Black and Muslim agenda against law enforcement and others who oppose

 him. Plaintiff has put the Mayor of Los Angeles and the Los Angeles World Airports on notice to

 preserve surveillance videos and other evidence of the Defendant Obama and his surrogates,

 agents and co-conspirators provoked assault which occurred in the baggage claim area of

 Southwest Airlines and when Plaintiff discovers the identity of the person of apparent Muslim

 descent who carried out the assault, “cleverly” wilfully and maliciously incited by and called for

 Defendant Obama and his surrogates, agents and co-conspirators, she will be added as a

 defendant to this action. See Exhibit 1 which is incorporated herein by reference.

        36.!    Defendant Obama has, conspicuously, not disavowed the acts and threats of

 serious violence carried out in response to his incitements.

        37.!    Defendant Obama and Black Lives Matter and radical Muslims and Islamic

 groups, such as CAIR, who had been and continue to “work” with him in concert to incite death

 and/or serious bodily harm against law enforcement officers, Jews, and Caucasians, are now

 “working” in concert with the “protestors,” incited by Defendant Obama, his surrogates, agents

 and co-conspirators, only a portion of which are set forth throughout this complaint. Defendant

 Obama and those surrogates, agents, and co-conspirators oppose President Donald Trump’s

 Executive Order in order to further their plan to delegitimize President Trump and destabilize

 American society in order to rebuild it pursuant to their agendas.

 V.    ! CAUSES OF ACTION

                                     FIRST CAUSE OF ACTION
                                            Assault



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        38.!    Plaintiff repeats and re-alleges each and every allegation of the foregoing

 paragraphs as if fully set forth herein.

        39.!    Defendant Obama, himself and by and through his surrogates, agents and co-

 conspirators as set forth above, has wilfully and maliciously placed Plaintiff in apprehension of

 an imminent harmful or offensive contact resulting in serious bodily injury or death.

        40.!    The Muslim “protestor,” acting under the direction of Defendant Obama, and in

 furtherance of Defendant Obama’s and his surrogates, agents and co-conspirators’ willful and

 malicious incitement to violence and/or death, acting in concert, threatened Plaintiff, who was

 placed in fear of imminent severe physical bodily harm and/or death.

        41.!    Defendant Obama’s acts, acting in concert with his surrogates, agents and co-

 conspirators of inciting, promoting and/or carrying out actions of violence against those who

 have differing opinions and have taken legal actions to try and thwart their hate-filled agendas,

 such as Plaintiff, were done with the intent to knowingly and purposefully place the Plaintiffs in

 fear of immediate and imminent severe bodily injury, physical danger, attacks, and/or execution,

 assassination, or death.

        42.!    As a direct, foreseeable and proximate result of the conduct of Defendant Obama,

 his surrogates, agents and co-conspirators, Plaintiff has suffered non-pecuniary damages in

 amounts to be proven at trial.

        43.!    By reason of the wrongful conduct of Defendant Obama and his surrogates,

 agents and co-conspirators, acting in concert, Plaintiff has suffered conscious pain, suffering,

 severe emotional distress and the fear of imminent serious bodily injury or death, and have

 suffered pecuniary and economic damage, loss of support, loss of nurture, care and guidance,




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 emotional distress, grief, anguish, loss of services, loss of society, and other mental and physical

 injuries.

                                  SECOND CAUSE OF ACTION
                             Intentional Infliction of Emotional Distress

         44.!    Plaintiff repeats and re-alleges each and every allegation of the foregoing

 paragraphs as if fully set forth herein.

         45.!    Defendant Obama’s acts, in concert with his surrogates, agents and co-

 conspirators of inciting and/or carrying out actions of violence, as set forth herein against

 Plaintiff and those in his vicinity in the baggage claim area of Southwest Airlines at LAX were

 done with the intent to terrorize, threaten, intimidate, and frighten Plaintiff and those similarly

 situated, as well as to actually commit acts of violence against them.

         46.!    Defendant Obama’s acts, in concert with his surrogates, agents and co-

 conspirators of inciting, promoting and/or carrying out actions of violence were willful,

 malicious, deliberate, or were done with reckless indifference to the likelihood that such

 behavior would cause severe emotional distress and with utter disregard for the consequences of

 such actions.

         47.!    The acts of violence and murder set forth herein were committed with the

 knowledge of and intention to cause extreme physical pain and suffering to any and all persons

 within close proximity of the attack and extreme emotional distress to the Plaintiff and others

 similarly situated who oppose Defendant Obama and his surrogates, agents, and co-conspirators

 discriminatory and harmful radical Black and pro-Muslim agendas and goals, or were done with

 reckless indifference to the likelihood that such behavior would cause such severe emotional

 distress and with utter disregard for the consequences of such actions.




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        48.!    Defendant Obama’s, acting in concert with his surrogates, agents and co-

 conspirators conduct was unreasonable and outrageous and exceeds the bounds usually tolerated

 by decent society, and was done willfully, maliciously and deliberately, or with reckless

 indifference, to cause Plaintiff and others similarly situated with severe mental and emotional

 pain, distress, and anguish and loss of enjoyment of life.

        49.!    By reason of the wrongful conduct of Defendant Obama and those surrogates,

 agents and co-conspirators acting in concert with him, Plaintiff has suffered conscious pain,

 suffering, severe emotional distress and the fear of imminent serious bodily injury or death, and

 have suffered pecuniary and economic damage, loss of support, loss of nurture, care and

 guidance, grief, anguish, loss of services, loss of society, and other mental and physical injuries.

        50.!    Defendant Obama, acting in concert with his surrogates, agents and co-

 conspirators undertook his actions willfully, wantonly, maliciously and with reckless disregard

 for Plaintiff’s rights, and as a direct, foreseeable, and proximate result thereof plaintiffs suffered

 economic and emotional damage in a total amount to be proven at trial. Plaintiff also seeks

 punitive damages in an amount sufficient to deter Defendant Obama and his surrogates, agents,

 and co-conspirators from similar future wrongful conduct.

                                        PRAYER FOR RELIEF

        Plaintiffs demands that judgment be entered against Defendant Obama for compensatory

 and actual damages because of their demonstrable physical and emotional injury to Plaintiff,

 punitive damages because of Defendant Obama’s callous and reckless indifference and malicious

 acts, and attorney’s fees, costs, an award in excess of $3,450,000 million USD, punitive damages

 based at least on 5% of Defendant Obama’s considerable net worth which is reported and

 predicted soon to be in the hundreds of millions of U.S. dollars, to prevent his “clever and




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 opportune” malicious incitement to violence and illegal actions from reoccurring , and such other

 relief the Court may deem just and proper.

                                            JURY DEMAND

        Plaintiff respectfully demands a jury trial on all issues so triable.


 Dated: February 2, 2017
                                                        Respectfully submitted,

                                                        /s/ Larry Klayman
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